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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                             4:17CR3017

      vs.
                                                               ORDER
WILLIAM J. ALLEN, and ALLIE
JOHNSON,

                     Defendants.


      Defendant Johnson has moved to continue the pretrial motion deadline,
(Filing No. 28), and the trial, (Filing No. 27), because the defendant needs
additional time to fully review the discovery received before deciding if pretrial
motions should be filed. The motion to continue is unopposed. Based on the
showing set forth in the motion, the court finds the motion should be granted.
Accordingly,


      IT IS ORDERED:


      1)       Defendant Johnson’s motions to continue, (Filing Nos. 27, and 28),
               are granted.

      2)       As to both defendants, pretrial motions and briefs shall be filed on or
               before August 18, 2017.

      3)       As to both defendants, trial of this case is continued and is set to
               commence before the Honorable John M. Gerrard at 9:00 a.m on
               September 25, 2017 or as soon thereafter as the case may be
               called, for a duration of 5 trial days, in Lincoln, Courtroom #1. Jury
               selection will be held at commencement of trial.
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    4)    The ends of justice served by granting the motion to continue
          outweigh the interests of the public and the defendants in a speedy
          trial, and as to both defendants, the additional time arising as a
          result of the granting of the motion, the time between today’s date
          and August 18, 2017, shall be deemed excludable time in any
          computation of time under the requirements of the Speedy Trial Act,
          because although counsel have been duly diligent, additional time is
          needed to adequately prepare this case for trial and failing to grant
          additional time might result in a miscarriage of justice. 18 U.S.C. §
          3161(h)(1), (h)(6) & (h)(7). Failing to timely object to this order as
          provided under this court’s local rules will be deemed a waiver of any
          right to later claim the time should not have been excluded under the
          Speedy Trial Act.

    5)    No further continuances will be granted absent a substantial
          showing of good cause.


    Dated this 20th day of June, 2017.

                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United States Magistrate Judge




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